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                              UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF PENNSYLVANIA

NOEL BROWN,                                   :    CIVIL ACTION NO. 4:19-1230
                               Petitioner
                                              :          (Judge Mannion)
                        v.
                                              :
COMMONWEALTH OF
PENNSYLVANIA, et al.,                         :

                               Respondents    :

                                            ORDER

                   In accordance with the memorandum issued this same day, IT IS

HEREBY ORDERED AS FOLLOWS:

         1) Magistrate Judge Arbuckle’s Report and Recommendation (Doc. 26) is

         ADOPTED;

         2) Petitioner’s objections (Doc. 27) are OVERRULED;

         3) The Petition for a writ of habeas corpus (Doc. 12) is DENIED;

         4) The Court declines to issue a certificate of appealability; and

         5) The Clerk of Court is directed to close this case.


                                                   s/Malachy E. Mannion
                                                   MALACHY E. MANNION
                                                   United States District Judge
Date: October 19, 2020
19-1230-01 order
